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THIS ORDER IS SIGNED AND ENTERED.

Dated: November 12, 2020




                                              Hon. G. Michael Halfenger
                                              United States Bankruptcy Judge




                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF WISCONSIN


In re:

         ENGINEERED PROPULSION                     Case No. 20-11957-gmh
         SYSTEMS, INC.,                                  Chapter 11

                       Debtor.


    ORDER APPROVING BID PROCEDURES; APPROVING DATES AND
        DEADLINES RELATING TO THE DEBTOR’S SALE PROCESS;
         GRANTING RELATED RELIEF; AND NOTICE OF HEARING
________________________________________________________________________

         A preliminary hearing on the Debtor’s Motion for Order: 1) authorizing the

Debtor to sell substantially all of its assets in the manner more fully set forth below;

2) approving the proposed Bid Procedures that will govern the sale process; 3)

establishing dates and deadlines related to the sale process; and, 4) granting related

relief (the “Motion”, located at Docket #155), having come before this Court to be

heard on November 9, 2020; and, appearances having been made as noted on the
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record therein; and, it appearing that no other or further notice need be provided to

any party; and, it appearing that the relief requested in the Motion is in the best

interests of the Debtor, its estate, and its creditors; and, the pending Objections related

to items 2) and 3), above, having been argued by the parties and resolved on the

record, as set forth below; and, after due deliberation and sufficient cause appearing

therefor,

IT IS HEREBY ORDERED that,

     1.       The portion of the Motion relating to the approval of the proposed

              Bidding Procedures, as revised in accordance with the Court’s findings

              and the agreements of the parties, a copy of which is attached to this

              Order, is hereby granted, following the Objections to such Bid

              Procedures being resolved on the record or overruled, as follows:

              A.     The originally proposed bid procedure paragraph (G)(e)(vi) is

                     replaced with:

                     “vi.    proposes to pay in full the allowed secured claims of First

                             National Community Bank, US Bank Equipment Finance,

                             Wisconsin Economic Development Corporation (via the

                             Wisconsin Department of Administration), and the DIP

                             Lender, all calculated as of the date of the closing;,” and,

              B.     The originally proposed bid procedure paragraph (G)(e)(vii) is

                     renumbered to (viii); and,
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           C.     A new paragraph (G)(e)(vii) is added to the proposed bid

                  procedures, as follows:

                  “vii. is at least equal in value to $6.5 million (which shall not

                        necessarily be deemed to be a higher and better bid than the

                        Stalking Horse Bid), provided that such amount is sufficient

                        to comply with sub-section vi., hereof, or such higher sum

                        as may be necessary to minimally comply with sub-section

                        vi., hereof;”, and,

           D.    Additional changes and revisions to the Bidding Procedures to

                 eliminate references to the “Consultation Party”, to correct

                 addresses, and to revise dates, as ordered by the Court.

   2.      The 11 U.S.C. 363(k) issue raised in the Objection of Chippewa Valley

           Angel Investors Network, LLC, Claire Johnson, and Douglas Larson,

           and also contained in one form or another in other Objections filed with

           the Court (hereinafter, collectively, the “CVAIN 363(k) Objection”,

           located at Docket #188, at page 7), relating to a request by the Objectors

           to the Court to exercise its discretion to deny, “for cause”, the ability of

           the stalking horse bidder to credit bid its secured claims in the pending

           sale based solely on an asserted prohibition to such credit bidding

           allegedly contained in the Intercreditor Agreement entered by and

           among the stalking horse bidder and the Objectors will proceed on an
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           expedited briefing and hearing schedule, as set forth more specifically

           below.

    3.     Any party desirous of filing a formal Reply to the CVAIN 363(k)

           Objection solely on the issue of the impact of the Intercreditor

           Agreement on the ability of the stalking horse bidder to make a credit

           bid in the pending sale shall file said Reply with the Court not later than

           November 13, 2020, at 5:00 p.m. (CST).

    4.     Any party desirous of filing a Sur-Reply on the issue described in

           paragraph 3, above, shall do so by filing it with the Court not later than

           the end of the day on November 16, 2020.

    5.     The Court will hear arguments on this specific 11 U.S.C. §363(k) issue at

           a telephone conference call hearing to be held on November 20, 2020, at

           3:00 p.m. (CST).

    6.     The entry of this Order shall be without prejudice to the rights of the

           Debtor to request further modifications and guidance from the Court

           with regard to its sale motion.

    7.     This Court shall retain jurisdiction with respect to all matters arising

           from or related to the implementation or interpretation of this Order.

    8.     The attached Amended Bid Procedure is approved and made the order

           of the Court.
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    9.      Notwithstanding anything to the contrary in the attached Bidding Procedures,
    the request for payment of a Break-Up Fee and Expense Reimbursement is reserved
    for later court approval.


    10.    This order controls over any inconsistent provisions in the Bidding Procedures.
    The Bidding Procedures are only subject to immaterial modification by the Debtor.
    The Debtor is ordered to inform all interested parties concerning the sale process and
    this order.


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                      ENGINEERED PROPULSION SYSTEMS, INC.
                             BIDDING PROCEDURES1

A.      INTRODUCTION AND BACKGROUND

      Engineered Propulsion Systems, Inc. (“EPS” or the “Debtor”) is the debtor and
debtor-in-possession in Case No. 20-11957, pending in the United States Bankruptcy
Court for Western District of Wisconsin (the “Bankruptcy Court”).

       The Bankruptcy Court has authorized the Debtor to enter into an agreement for
the sale of assets of the Debtor to EPS Engineered Propulsion Systems, Inc. (the
“Stalking Horse”) pursuant to that certain Asset Purchase Agreement (the “Asset
Purchase Agreement” or the “APA” or the “Stalking Horse Bid”) between EPS, named
therein as Seller, and the Stalking Horse, named therein as Buyer, but subject to and in
accordance with the process described in the procedures set forth below (the “Bidding
Procedures”).

       The Auction (as defined below) will be managed by Steinhilber Swanson LLP
(“SSLLP”). A description of the business assets that are to be sold is contained in a
series of Schedules attached to the APA, as described in more detail below.

B.      KEY DATES

     The key dates for this process are as follows:

        x   November 8, 2020                            Sale Procedures Hearing
        x   November 20, 2020                           Due dates for bids
        x   November 24, 2020                           Auction
        x   November 30, 2020                           Sale approval hearing
        x   December 4, 2020                            Closing

C.      STALKING HORSE BID

        On October 15, 2020, the Debtor entered into the APA with the Stalking Horse.
A copy of the APA is available through SSLLP or EPS management, or may be reviewed
on the Electronic Case Filing System maintained by the Bankruptcy Court as an
attachment to the Notice of Motion and Motion for Orders: (1) authorizing Debtor to
sell assets free and clear of liens, claims, interests and encumbrances; (2) authorizing
assumption and assignment or rejection of unexpired leases and executory contracts;

1Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Asset Purchase Agreement or the Sale Motion, as applicable, each as described and defined below.
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(3) approving bidding procedures and auction; (4) approving the Break-Up Fee and
Expense Reimbursement (both as defined below); (5) approving the form and manner
of notice; and (6) scheduling further hearing that was filed on October 15, 2020 (the
“Sale Motion”).

      The APA provides for payment to the Stalking Horse of, depending on the
circumstances as set forth in the APA: (a) a break-up fee in the amount of $150,000 (the
“Break-Up Fee”), and (b) an expense reimbursement in the amount of $250,000.00 (the
“Expense Reimbursement” subject to court approval under 11 U.S.C. 503).

       The Debtor is offering to sell assets to be acquired as described in the APA, free
and clear of all liens, claims, interests, and other encumbrances pursuant to 11 U.S.C.
363(f). Other interested bidders will have opportunities to bid on the assets described
in the APA.

D.    QUALIFIED BIDDER

       To be allowed to participate in the sale process, to conduct due diligence, and to
be entitled to submit a bid, a party interested in purchasing the assets must deliver to
EPS management and SSLLP the following:

      1.     a signed Confidentiality Agreement, in form and substance reasonably
             satisfactory to SSLLP and EPS management;

      2.     evidence, satisfactory to SSLLP and EPS management demonstrating: (a)
             that the bidder has the financial ability to close the sale proposed by such
             bidder in its bid; and, (b) no further corporate action by the bidder is
             required for it to consummate its purchase as proposed by its bid;

      3.     audited (if in existence) or reviewed financial statements and/or other
             forms of financial disclosure acceptable to SSLLP and EPS management
             demonstrating the putative bidder’s financial ability to close; and,

      4.     the Deposit (as defined below).

      A party who submits all of these documents and the Deposit is deemed to be a
Qualified Bidder (as defined below) who is eligible to submit a Qualified Bid (as
defined below).




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E.    DUE DILLIGENCE

       Qualified Bidders may be offered the opportunity to conduct reasonable due
diligence so long as the sale process is ongoing and until the Bid Deadline.

F.    BID DEADLINE

       The deadline (the “Bid Deadline”) for Qualified Bidders to submit a bid shall be
November 20, 2020 at 4:00 o’clock p.m. CST, or such other later date and time to which
the Bid Deadline may be extended by the Bankruptcy Court; provided, however, that
such extended date shall be not later than November 23, 2020.

      All bids must be submitted, on or prior to the Bid Deadline, to Michael Fuchs,
President of EPS, 625 West Hangar Road, Hangar 11-16,New Richmond WI 54017, and
via email to m.fuchs@eps.aero and to James D. Sweet, Steinhilber Swanson LLP, 122
West Washington Ave., Suite 850, Madison, Wisconsin 53703-2732 (Phone: 608-310-
5501,     Fax:      608-630-8991,   jsweet@steinhilberswanson.com        and      to
vgeorge@steinhilberswanson.com ).

G.    QUALIFIED BID

       To be eligible to participate in the Auction, a Qualified Bidder must, on or prior
to the Bid Deadline (as may be extended in accordance with Section F, above), submit
to the parties listed in F., above, a package (the “Bid Package”) that includes all of the
following items:

             a.     A signed Confidentiality Agreement in the form provided.

             b.     A written acknowledgement that the Qualified Bidder agrees: (i) to
                    all of the terms set forth in these Bidding Procedures; (ii) that its bid
                    constitutes an irrevocable offer and is binding on the Qualified
                    Bidder until the earlier of 48 hours after the sale of the assets has
                    closed or thirty (30) days after the Sale Approval Hearing; and, (iii)
                    to perform as a Back-Up Bidder (as defined below) in the event its
                    Qualified Bid is not the Prevailing Bid (as defined below).

             c.     Written evidence it has obtained authorization and approval from
                    its Board of Directors (or comparable governing body) with respect
                    to the submission of such Qualified Bidder’s bid and acceptance of
                    the terms of sale set forth in these Bidding Procedures, or
                    representations that no such authorization or approval is required.

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           d.        Financial statements and/or written evidence of an irrevocable
                     financing commitment or other evidence, satisfactory to SSLLP and
                     EPS management of the financial ability to close under its Asset
                     Purchase Agreement within the deadline described above
                     (provided, however, that the closing of the sale shall not be
                     contingent in any way on the Qualified Bidder financing).

           e.        A signed Asset Purchase Agreement in the form of the Asset
                     Purchase Agreement signed by the Stalking Horse “redlined” to
                     show any modifications required by the Qualified Bidder,
                     including any modifications to the schedules and exhibits (the
                     “Competing Bid”), that:

                  i. discloses of the identity of each entity submitting the Competing
                     Bid or otherwise participating in the Competing Bid, and the
                     complete terms of any such participation;

                 ii. proposes to purchase the same (or in all material respects the same)
                     assets to be acquired by the Stalking Horse; provided, however,
                     that, a bid for other assets or another combination of assets may be
                     treated as a Competing Bid by EPS management;

                iii. is without a contingency for financing or further due diligence and
                     shall not contain a break-up fee or expense reimbursement;

                iv. includes a list of all unexpired leases and executory contracts to be
                    assumed and assigned to the Qualified Bidder;

                 v. is not subject to conditions, representations, or terms that the
                    Debtor determines to be unacceptable;

                vi. proposes to pay in full the allowed secured claims of First National
                    Community Bank, US Bank Equipment Finance, Wisconsin
                    Economic Development Corporation (via the Wisconsin
                    Department of Administration), and the DIP Lender, all calculated
                    as of the date of the closing;

                vii. is at least equal in value to $6.5 million (which shall not necessarily
                     be deemed to be a higher and better bid than the Stalking Horse
                     Bid), provided that such amount is sufficient to comply with sub-
                     section vi., hereof, or such higher sum as may be necessary to
                     minimally comply with sub-section vi., hereof;

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            viii. is not conditioned upon the Bankruptcy Court’s approval of any
                  bid protections, such as a break-up fee, termination fee, expense
                  reimbursement, or similar type of payment;

                ix. does not contain any condition to closing of the transaction
                    relating to the receipt of any third-party approvals (excluding
                    required Bankruptcy Court and required CFIUS regulatory
                    approval);

                x. expressly acknowledges and represents that the Qualified Bidder:
                   (a) has had an opportunity to conduct any and all due diligence
                   regarding the Assets and the proposed transaction prior to making
                   its bid, (b) has relied solely upon its own independent review,
                   investigation and/or inspection of any documents and the assets
                   in making its bid or that of any of its legal, financial or other
                   advisors, and, (c) did not rely upon any written or oral statements,
                   representations, promises, warranties or guaranties whatsoever,
                   whether express, implied, by operation of law or otherwise,
                   regarding the business of the Debtor or the assets or the proposed
                   transaction, or the completeness or accuracy of any information
                   provided in connection therewith, except as expressly stated in the
                   representations and warranties contained in the APA ultimately
                   accepted and executed by the Debtor; and,

                xi. contains other information reasonably requested by the Debtor.

           f.      Evidence of such Qualified Bidder’s ability to provide adequate
                   assurance of future performance of such contracts or leases (as
                   required by section 365(f)(2)(B) of the Bankruptcy Code).

           g.      A deposit (“Deposit”) in an amount equal to ten percent (10%) of
                   the amount of the bid in the form of a cashier’s check drawn on a
                   national bank chartered in the United States of America, made
                   payable to the order of Steinhilber Swanson LLP Special Trust
                   Account, delivered to counsel for EPS, or a wire transfer or ACH to
                   the Steinhilber Swanson LLP Special Trust Account, established for
                   this purpose, which will be returnable to the Qualified Bidder, as
                   set forth in Paragraph J. All Deposits will be held in the segregated
                   trust account designated above.




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        Notwithstanding anything to the contrary herein, or in the APA submitted by
the Stalking Horse, if any bid submitted by a Qualified Bidder includes material assets
not included in the Stalking Horse Bid, or excludes material assets included in the
Stalking Horse Bid, is accepted as a Qualified Bid by EPS, then: (i) at any time prior to
the Auction, the Stalking Horse may, without terminating its current APA, submit a
new APA (the “New APA”) in substantially the same form as its current APA except
for changes with respect to the purchase price to be paid in the scope of the assets and
liabilities to be purchased, and any other modifications reasonably related to such
changes; and, (ii) such New APA shall be deemed to be a Qualified Bid and the Stalking
Horse would be deemed to be a Qualified Bidder with respect to the New APA and for
all purposes and requirements pursuant to these Bidding Procedures, notwithstanding
the requirements that bidders must satisfy to be a Qualified Bidder.

        After the Bid Deadline, EPS management will analyze each Competing Bid
based on the criteria detailed above to determine which bids will be treated as
“Qualified Bids” entitled to participate at the Auction, based on the capability of the
Qualified Bidder to close a transaction, the Competing Bid’s impact on all constituents
of the Debtor, and the amount of the Competing Bid. SSLLP may, at any time after
consulting with EPS, contact Qualified Bidders to discuss or clarify terms and to
indicate any terms, which may need to be modified in order to conform the Competing
Bid to a Qualified Bid or to negotiate terms. SSLLP shall provide a list of Qualified Bids
and each corresponding Bid Package to: (a) counsel for the Stalking Horse, (b) counsel
for the DIP Lender and (c) each Qualified Bidder no later than the earlier of one (1) day
after the Bid Deadline and at least one (1) day before the Auction. For the purposes of
the Auction, the APA submitted by the Stalking Horse is a Qualified Bid and the
Stalking Horse is a Qualified Bidder for all purposes and requirements pursuant to the
Bidding Procedures, notwithstanding the requirements that bidders must satisfy to be
a Qualified Bidder. The Stalking Horse shall not be required to take any further action
to participate in the Auction, or if Stalking Horse Bid is the Prevailing Bid (as defined
below) or the Back-Up Bid (as defined below) to be named the Prevailing Bidder (as
defined below) or the Back-Up Bidder (as defined below), as applicable.

       After the Bid Deadline, the Debtor shall determine which Qualified Bid
represents the then-highest or otherwise best bid (the “Initial Highest Bid” and the
entity submitting such Bid, the “Initial Highest Bidder”). Prior to or at the start of the
Auction, each Qualified Bidder that timely submitted a Qualified Bid or a Qualified
Partial Bid will be advised of such Initial Highest Bid.

      SSLLP and EPS management may, in their reasonable business judgment, reject
any bid if such bid is, among other things:



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      a.     on terms that are more burdensome or conditional than the terms of the
             APA;

      b.     not received by the Bid Deadline; and/or,

      c.     is subject to any due diligence, financing condition, or other contingencies
             (including representations, warranties, covenants, and timing
             requirements), or an estimated time to close which materially affects the
             value of the bid; or,

      d.     fails to comply with Section G.e.vi. above.

      Any bid rejected pursuant to this Paragraph shall not be deemed to be a
Qualified Bid and shall not be permitted to participate in the Auction.

H.    AUCTION

      1.    Qualified Bidders who are deemed to have submitted a Qualified Bid will
convene on November 24, 2020, at 1:00 o’clock P. M. CST, at the office of SSLLP, or at
such other location selected by SSLLP with written notice to each party that has
submitted a Qualified Bid for the Auction (the “Auction”). The Auction may also be
held by Zoom or some comparable video conferencing platform if the Seller so
designates.

     2.     If no Qualified Bid is timely received other than the Stalking Horse Bid,
no Auction will take place.

       3.    The Auction may be postponed by announcement by SSLLP, after
consultation with the Stalking Horse, by not more than three (3) business days, except
with the consent of the Stalking Horse.
The only persons or entities who will be permitted to bid at the Auction are the
authorized representatives of each Qualified Bidder who submitted a Qualified Bid (the
“Auction Participants”). While only the Auction Participants may bid at the Auction,
the Auction may be attended by the Debtor, the Debtor’s advisors, the U.S. Trustee,
along with any other party the Debtor deems appropriate. All creditors of the
Debtor’s estate shall be permitted to attend; provided, however, that in order to attend
the Auction, a creditor must advise the Debtor in writing no later than 48 hours prior
to the Auction; provided, further, however, that the Debtor may seek relief from the
Bankruptcy Court in the event that they object to such creditor's attendance. Said
notification shall be by email and addressed to m.fuchs@eps.aero and
jsweet@steinhilberswanson.com and to vgeorge@steinhilberswanson.com .


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       4. The Debtor is authorized to conduct the Auction in accordance with such
procedures and requirements as may be established at the discretion of the Debtor
which rules may include the determination of the amount of time between Qualified
Bids, whether to adjourn the Auction at any time and from time to time, the conduct of
multiple rounds of open bidding with notice only to the parties entitled to attend the
Auction, and to declare that the Auction has ended when no further bids are timely
made or otherwise.

       5.    The Qualified Bid that is deemed the Initial Highest Bid shall be the first
Qualified Bid to begin the Auction. The next Qualified Bid at the Auction shall be an
amount equal to or greater than the Initial Highest Bid plus at least $100,000 (the
“Minimum Bid Increment”). Thereafter, the Auction will continue in the manner set
forth herein and as otherwise determined by the Debtor in accordance with these
Bidding Procedures.

      6.     The amount of each subsequent Qualified Bid will be made known to all
other Qualified Bidders in attendance at the auction.

       7.     When such bidding has ceased, the bids that are deemed by SSLLP, on
behalf of the Debtor, to be the highest and best bid(s) will be announced at the close of
bidding.

       8.    Subject to the provision set forth above, SSLLP, on behalf of the Debtor,
may also conduct auctions for other assets or combinations of assets to determine which
is the winning bid or bids.

      9.    The highest and best bid(s) is referred to herein as the “Prevailing Bid(s)”
and the maker(s) of such bid(s) the “Prevailing Bidder(s).”

       10.   The next highest and best bid will be the “Back-Up Bid(s)” and the maker
of the Back-Up Bid will be the “Back-Up Bidder(s).”

       11.     If the Stalking Horse Bid is not the Prevailing Bid or the Back-Up Bid,
either of which ultimately becomes the successful buyer or as otherwise provided in
the APA, the Break-Up Fee shall be paid and the Stalking Horse shall be entitled to the
return of its Deposit as described in the APA.

      12.    No additional bids will be considered after the end of the Auction.

      13.    In determining which bid constitutes the “Prevailing Bid” or the
“Prevailing Bids” and the “Back-Up Bid” or “Back-Up Bids,” the Debtor will use its

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reasonable business judgment and may consider, among other things: (i) the purchase
price offered in the Qualifying Bid; (ii) the Qualified Bidder’s financial situation and
wherewithal; (iii) the probability of a prompt closing; (iv) the ability to demonstrate
adequate assurance of future performance on all contracts and leases to be assumed;
and, (v) the best interest of holders of claims and interests. The Debtor may also
consider different combinations of bids.

      14.    EPS and SSLLP will inform all persons identified on the short service list
concerning the sale process and the foregoing decision.

     15.   EACH QUALIFIED BID SHALL CONSTITUTE AN IRREVOCABLE
OFFER AND BE BINDING ON EACH QUALIFIED BIDDER(S) FROM THE TIME
THE BID IS SUBMITTED UNTIL THE EARLIER OF 48 HOURS AFTER THE SALE
OF THE ASSETS HAS CLOSED OR THIRTY (30) DAYS AFTER THE SALE
APPROVAL HEARING.

       16.    All Qualified Bidders at the Auction will be deemed to have consented to
the core jurisdiction of the Bankruptcy Court with respect to the Debtor and its assets
and to have waived any right to a jury trial in connection with any dispute relating to
the Auction, the sale of the assets, and the construction and enforcement of the APA.

I.    SALE APPROVAL HEARING

       On November 30, 2020 at 10:00 a.m., CST, the Bankruptcy Court will hold a
hearing (the “Sale Approval Hearing”) at which the Debtor will seek Bankruptcy Court
approval of the Prevailing Bid(s) and of the Back-Up Bid(s). In the event that a
Prevailing Bidder(s) cannot or refuses to consummate the sale because of the breach or
failure on the part of the Prevailing Bidder(s), and not because of any default by the
Debtor, the Debtor will be permitted to close with the Back-Up Bidder(s) on the Back-
Up Bid(s) without further order of the Bankruptcy Court. The Debtor’s presentation to
the Bankruptcy Court for approval of those particular bids did not constitute
acceptance of any bids. The Debtor has accepted a bid only when the Bankruptcy
Court, following the Sale Approval Hearing, has approved the sale pursuant to a Final
Order. No additional bids will be considered at the end of the Auction.

J.    CLOSING

       Closing (the “Closing”) shall occur within five (5) business days after the
Bankruptcy Court has entered a final order approving the sale and other conditions are
met, all consistent with the APA, subject to the right of the Debtor and the Prevailing
Bidder or the Back-Up Bidder, as the case may be, to extend such date as consistent
with the applicable APA(s).

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      Each Deposit submitted pursuant to these Bidding Procedures will be held in
escrow until:

      1.     As to other bidders, the selection of the Prevailing Bidder(s) and the Back-
             Up Bidder(s); or,

      2.     As to the Back-Up Bidder(s), the earlier of 48 hours after Closing of the
             sale of the assets to the Prevailing Bidder(s) or thirty (30) days after the
             Sale Approval Hearing.

        The Deposits received from the Prevailing Bidder(s) or the Back-Up Bidder(s),
as the case may be, shall constitute liquidated damages in the event that the Bankruptcy
Court approves the Asset Purchase Agreement to which the Prevailing Bidder(s) or
Back-Up Bidder(s), as applies, is a party, but the sale is not consummated, such bidder’s
Deposit shall be forfeited to the Debtor and such forfeited Deposit shall constitute
collateral of the DIP Lender, and be subject to the debtor-in-possession financing
orders.

K.    GENERAL

       These Bidding Procedures are subject to modification from time to time by
SSLLP as circumstances may warrant, after consultation with the Stalking Horse. In
the event that a material modification is not consented to by the Stalking Horse, such
modification shall permit the Stalking Horse to withdraw its bid without any liability
and to receive return of its deposit and to obtain payment of the Break-Up Fee and the
Expense Reimbursement to the extent payable under the terms of the APA. The Debtor
shall promptly notify parties in interest and prospective bidders of any such
modifications. Except as provided in the APA, no bidder has any rights against the
Debtor and its estate, the DIP Lender, or any of their respective professionals, advisors
or agents by virtue of any modification of these Bidding Procedures, or by virtue of
having or not having its bid accepted by the Debtor or approved by the Bankruptcy
Court.

L.    TERMS OF SALE

       Sale of the assets shall be on an “As Is, Where Is” basis and without
representation or warranties of any kind, nature or description by the Debtor or its
agents, except as provided in an Asset Purchase Agreement accepted by the Debtor and
approved by the Bankruptcy Court in a sale order. All of the Debtor’s right, title and
interest in and to the assets shall be sold free and clear of all liens and encumbrances,

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claims, and interests to the full extent available under Bankruptcy Code Section 363(f)
including, without limitation, the interest of any secured creditor, unsecured creditor,
equity interest holder, or any other person holding an interest in or claim against said
assets with such interest to attach to the net proceeds of the sale.

M.     RESERVATION OF RIGHTS

       The Debtor may: (a) determine in its reasonable business judgment and based
on the criteria outlined herein, which bids are the highest and best bids for the assets
and in the best interest of the Debtor’s estate; and, (b) reject at any time before entry of
an order by the Bankruptcy Court approving a Prevailing Bid (or Back-Up Bid) any bid
(other than the Stalking Horse Bid) that, in the Debtor’s discretion, exercising its
reasonable business judgment, is: (i) inadequate or insufficient based on the criteria
outlined herein, (ii) not in conformity with these procedures whether the requirements
of the Bankruptcy Code, or, (iii) contrary to the best interest of the Debtor and the
Debtor’s estate; and, (c) subject to the provisions of Paragraph K modify these
procedures as set forth herein as required to best accomplish the sale of the assets of the
debtor.




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